                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION

 SEMETRIS WARREN,
                                                Civil Action
      Plaintiff,                                File No.: 5:22-CV-202 (MTT)

 v.

 BIG LOTS STORES, INC. and JOHN
 DOES NOS. 1-10,

      Defendants.

              STIPULATION OF DISMISSAL WITH PREJUDICE

      It is hereby stipulated and agreed by and between the parties and/or their

respective counsel that the above-captioned action is voluntarily dismissed with

prejudice against all Defendants pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). This dismissal includes all claims stated herein against all parties, with

each party to bear its own attorney’s fees and costs.



This 15th day of August, 2024.


                                         By:    /s/Robert A. Luskin
                                                Robert A. Luskin
                                                GA State Bar No.: 004383
                                                rluskin@chartwelllaw.com
                                                Robert E. Noble, III
                                                GA State Bar No: 261331
                                                rnoble@chartwelllaw.com
                                                Lindsay C. Lee
                                        Georgia Bar No. 275722
                                        llee@chartwelllaw.com
                                        Chartwell Law
                                        3200 Cobb Galleria Pkwy
                                        Suite 250
                                        Atlanta, GA 30339
                                        (404) 410-1151 Phone
                                        (850) 668-7972 Fax


Consented to by: /s/ Samuel F. Hart, Jr.
                 Samuel F. Hart, Jr.
                 GA State Bar No.: 333402
                 sam@dozierlaw.com
                 Dozier Law Firm, LLC
                 P.O. Box 13
                 Macon, GA 31201
                 Phone: 478-742-8441
                 Fax: 478-745-9097
                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION

 SEMETRIS WARREN,
                                               Civil Action
      Plaintiff,                               File No.: 5:22-CV-202 (MTT)

 v.

 BIG LOTS STORES, INC. and JOHN
 DOES NOS. 1-10,

      Defendants.

                          CERTIFICATE OF SERVICE

      This is to certify that on this date I electronically filed this Certificate of

Service for STIPULATION OF DISMISSAL WITH PREJUDICE with the Clerk

of Court using the CM/ECF system which will automatically send e-mail

notification of such filing to the following attorneys of record:

                                    Samuel F. Hart, Jr.
                                  Dozier Law Firm, LLC
                                      P. O. Box 13
                                  Macon GA 31201-3312
                                   sam@dozierlaw.com

      This 15th day of August, 2024.

                                                  /s/Robert E. Noble
                                                  Robert E. NOBLE III
                                                  GA State Bar No: 261331
                                                  Chartwell Law
                                                  3200 Cobb Galleria Pkwy
                                                  Suite 250
                                                  Atlanta, GA 30339
(404) 410-1151 Phone
(850) 668-7972 Fax
